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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

JOHN DOE and
OKLAHOMA WESLEYAN UNIVERSITY,

                Plaintiffs,

   v.                                                Case No. 1:16-cv-01158 (RC)

CANDICE JACKSON, in her official capacity
as Acting Assistant Secretary for Civil Rights,
United States Department of Education, et al.,

                Defendants.


                                  JOINT STATUS REPORT

        The parties respectfully submit this Joint Status Report in response to the Court’s Minute

Order of December 11, 2017, which directed the parties to file another Joint Status Report by

January 19, 2018. The parties continue to discuss how to proceed in light of the withdrawal of

the 2011 Dear Colleague Letter, and respectfully propose that they file another Joint Status

Report by February 23, 2018.

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DATED: January 18, 2018                           Respectfully submitted,

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